Case 23-02011-CMB             Doc 47     Filed 08/03/23 Entered 08/03/23 15:26:36           Desc Main
                                        Document     Page 1 of 10



                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:                                                )
                                                      )       Bankruptcy 21-22031-CMB
Akshita Banerjee,                                     )
                                                      )       (Chapter 13)
         Debtor in Possession,                        )
----------------------------------------------------- )
Sadis & Goldberg, LLP                                 )
                                                      )       Adversary No. 23-02011-CMB
         Plaintiff,                                   )
                                                      )
v.                                                    )       Related to Document Nos: 34 & 38
                                                      )
Akshita Banerjee,                                     )
                                                      )
         Defendant.                                   )
---------------------------------------------------- )
Sadis & Goldberg, LLP,                                )
                                                      )
         Movant,                                      )
                                                      )
v.                                                    )
                                                      )
Anant J. Gandhi,                                      )
                                                      )
         Respondent.                                  )


    NON-PARTY ANANT J. GANDHI’S RESPONSE TO PLAINTIFF’S MOTION TO
                               COMPEL

         AND NOW comes non-party Anant J. Gandhi (“Gandhi”), by and through his

undersigned counsel, Richard J. Cromer, Esq., Daniel P. Yeomans, Esq. and Leech Tishman

Fuscaldo & Lampl, LLC, and files this Response To Plaintiff’s Motion to Compel (the

“Response”) stating as follows:

                                               BACKGROUND

         1.      On March 31, 2023, Plaintiff, Sadis & Goldberg, LLP (“Plaintiff”) served a

subpoena to produce documents (the “Subpoena”) on Gandhi, with return date of April 17, 2023.

                                                          1
Case 23-02011-CMB          Doc 47    Filed 08/03/23 Entered 08/03/23 15:26:36            Desc Main
                                    Document     Page 2 of 10



A copy of the Subpoena is attached as Exhibit D to Plaintiff’s Memorandum of Law in Support

of Motion to Compel, Doc. 34.

       2.      On April 14, 2023, Gandhi, through his former counsel, served Plaintiff’s counsel

with a letter objecting to the Subpoena in its entirety (the “Objections”), pursuant to Federal Rule

of Civil Procedure 45(d)(2)(B). A copy of the Objections is attached as Exhibit E to Plaintiff’s

Memorandum of Law in Support of Motion to Compel, Doc. 34. The Objections were timely

made under Rule 45(d)(2)(B) and detailed at length the grounds upon which Gandhi objected to

the Subpoena, including:

       1.) Gandhi is no longer the Trustee for the SASB Trust and has not served in that capacity

       since November 2021, and consequently requests pertaining to the SASB Trust are

       directed to the wrong party as Gandhi has no responsive documents pertaining to the

       SASB Trust nor can he direct the production of such documents,

       2.) the Debtor has no interest or role in the VGSB Trust, and as such requests related to

       the VGSB Trust are unrelated to this proceeding and improper. The VGSB Trust is

       Gandhi’s personal trust for which he is the grantor and trustee, and the Debtor is not

       affiliated with the VGSB Trust,

       3.) the Subpoena, and the broad requests contained therein, imposes an undue burden on

       Gandhi, a non-party to this proceeding, and

       4.) the Subpoena seeks information and documents not relevant to the proceeding and the

       claims raised therein.

       Gandhi hereby incorporates the Objections by reference in this Response.

       3.      Following service of the Objections, Plaintiff’s counsel and Gandhi’s former

counsel corresponded regarding the Subpoena and the Objections.                  As part of this



                                                 2
Case 23-02011-CMB        Doc 47    Filed 08/03/23 Entered 08/03/23 15:26:36             Desc Main
                                  Document     Page 3 of 10



correspondence, on May 18, 2023, Gandhi’s former counsel produced a Resignation Letter,

dated August 15, 2021, evidencing that Gandhi had resigned as Trustee of the SASB Trust

effective November 1, 2021. A copy of the Resignation Letter is attached as Exhibit G to

Plaintiff’s Memorandum of Law in Support of Motion to Compel, Doc. 34.

       4.     Plaintiff filed its Motion to Compel on July 7, 2023. Doc 34. Shortly thereafter,

the undersigned counsel was retained by Gandhi to represent him in this matter.

       5.     On July 17, 2023, the Court entered an Order And Notice Setting Date Certain

For Response And Hearing On Motion (the “Scheduling Order”) (Doc 38), setting August 3,

2023 as the response deadline to the Motion to Compel, and scheduling hearing on the Motion to

Compel to take place on August 24, 2023 at 1:30pm.

       6.     Pursuant to the Scheduling Order, Gandhi now files the present Response. For

the reasons set forth in the Objections and below, Plaintiff’s Motion to Compel should be denied.

                                          RESPONSE

       7.     Gandhi is a practicing physician and a non-party to this proceeding.

       8.     As explained by the U.S. Court of Appeals for the 4th Circuit in Virginia Dep't of

Corr. v. Jordan, 921 F.3d 180 (4th Cir. 2019):

       All civil discovery, whether sought from parties or nonparties, is limited in scope
       by Rule 26(b)(1) in two fundamental ways. First, the matter sought must be
       “relevant to any party's claim or defense.” Fed. R. Civ. P. 26(b)(1)…. Rule 26
       therefore imposes another requirement: discovery must also be “proportional to
       the needs of the case.” Id. Proportionality requires courts to consider, among
       other things, “whether the burden or expense of the proposed discovery outweighs
       its likely benefit.” Id. This relieves parties from the burden of taking unreasonable
       steps to ferret out every relevant document.
       When discovery is sought from nonparties, however, its scope must be limited
       even more. Nonparties are “strangers” to the litigation, and since they have “no
       dog in [the] fight,” they have “a different set of expectations” from the parties
       themselves. Cusumano v. Microsoft Corp., 162 F.3d 708, 717 (1st Cir. 1998).
       Bystanders should not be drawn into the parties’ dispute without some good



                                                 3
Case 23-02011-CMB         Doc 47    Filed 08/03/23 Entered 08/03/23 15:26:36               Desc Main
                                   Document     Page 4 of 10



       reason, even if they have information that falls within the scope of party
       discovery.

Virginia Dep't of Corr, 921 F.3d at 188–89 (4th Cir. 2019)[Emphasis Added]

       9.      The Court in Virginia Dep't of Corr expanded on the heightened undue burden

standard applied in connection to non-parties, stating:

       A more demanding variant of the proportionality analysis therefore applies
       when determining whether, under Rule 45, a subpoena issued against a
       nonparty “subjects a person to undue burden” and must be quashed or
       modified. Fed. R. Civ. P. 45(d)(3)(A)(iv). As under Rule 26, the ultimate question
       is whether the benefits of discovery to the requesting party outweigh the burdens
       on the recipient. In re Modern Plastics Corp., 890 F.3d 244, 251 (6th Cir. 2018);
       Citizens Union of N.Y.C. v. Att'y Gen. of N.Y., 269 F.Supp.3d 124, 138 (S.D.N.Y.
       2017). But courts must give the recipient's nonparty status “special weight,”
       leading to an even more “demanding and sensitive” inquiry than the one
       governing discovery generally. In re Public Offering PLE Antitrust Litig., 427
       F.3d 49, 53 (1st Cir. 2005).

Virginia Dep't of Corr., 921 F.3d at 189 (4th Cir. 2019)[Emphasis Added]

       10.     Notably, “While Rule 26 still defines the scope of discovery broadly, ‘courts

should not grant discovery requests based on pure speculation that amount to nothing more than

a ‘fishing expedition’ into actions ... not related to the alleged claims or defenses.’ Collens v.

City of New York, 222 F.R.D. 249, 253 (S.D.N.Y.2004) (collecting cases).” Mealy v. Ryan Env't,

Inc., No. C.A. 06-109 ERIE, 2008 WL 596814, at *1 (W.D. Pa. Mar. 4, 2008).

       11.     In the present matter, the Subpoena directed to Gandhi is replete with overly

broad requests for production seeking documents and records that bear no relation to the Debtor

or Plaintiff’s claims in this adversary proceeding, or otherwise request documents and records

that Gandhi does not possess and has no control over. As such, and as detailed in the Objections

and more fully below, Gandhi is either unable to respond to the requests in the Subpoena or

would suffer undue burden if compelled to respond to the requests in the Subpoena.




                                                  4
Case 23-02011-CMB        Doc 47    Filed 08/03/23 Entered 08/03/23 15:26:36             Desc Main
                                  Document     Page 5 of 10



Requests Related to the SASB Trust

        12.   Specifically, Request Nos. 1 – 3, 5, 9, 11, 14, 15, 17, 20, 23, 26 and 29 seek

documents related or pertaining to the SASB Trust. As detailed above, and as conveyed to

Plaintiff both in the Objections and in subsequent correspondence between Gandhi’s former

counsel and Plaintiff’s counsel, Gandhi has not been the Trustee for SASB Trust since

November 2021. Gandhi no longer has documents related to SASB Trust in his possession, nor

can he direct the production of such documents. Consequently, any requests for documents

related to the SASB Trust are not properly directed to Gandhi, and Plaintiff’s Motion to Compel

should be denied, as Gandhi cannot be compelled to produce documents he simply does not

have.

Requests Related to SSA Capital Advisors, LLC

        13.   Similarly, Request Nos. 4, 8, 13 – 15, 17, 20, 22, 25 and 29 seek documents

related or pertaining to SSA Capital Advisors, LLC. As set forth in Plaintiff’s Memorandum of

Law in Support of Motion to Compel, pp. 3-4, Gandhi’s connection and involvement with SSA

Capital Advisors, LLC was through his former role as Trustee for the SASB Trust. As discussed

above, Gandhi is no longer Trustee for SASB Trust, nor does he have any involvement with SSA

Capital Advisors, LLC. For this reason, Gandhi has no documents or records in his possession

responsive to the requests related to SSA Capital Advisors, LLC, and as such, any requests for

documents related to the SASB Trust are not properly directed to Gandhi. Accordingly, the

Motion to Compel should be denied as it pertains to the above requests related to SSA Capital

Advisors, LLC.




                                                5
Case 23-02011-CMB         Doc 47    Filed 08/03/23 Entered 08/03/23 15:26:36             Desc Main
                                   Document     Page 6 of 10



Requests Related to the VGSB Trust

       14.     Request Nos. 1 – 3, 6, 10, 12, 14, 15, 17, 20, 24, 27 and 29 seek documents

related or pertaining to the VGSB Trust, for which Gandhi is the Trustee. The Debtor is not a

beneficiary to the VGSB Trust, as the Debtor testified on December 14, 2022 (See, Rule 2004

Examination Transcript, at 104:18-105:1, attached as Exhibit A to Plaintiff’s Memorandum of

Law in Support of Motion to Compel, Doc. 34) nor is the Debtor a grantor to the VGSB Trust.

Consequently, documents related to the VGSB Trust are not relevant to the adversary proceeding

or Plaintiff’s claims, nor are requests for the same reasonably calculated to lead to the discovery

of admissible evidence.

       15.     Further, and in light of the absence of any relationship between the VGSB Trust

and the Debtor, the requests related to the VGSB Trust constitute an improper “fishing

expedition”, are overbroad and would otherwise impose an undue burden, disproportional to the

needs of the case, on Gandhi, a non-party to this proceeding.

The Remaining Requests

       16.     The remaining six (6) requests contained in the Subpoena not previously

addressed above are likewise comprised of overbroad and unduly burdensome requests, or

otherwise seek documents not relevant to the Adversary Proceeding or Plaintiff’s claims.

       17.     Specifically, Request No. 7 seeks “All federal and state income tax returns of any

other trust for which You are a trustee or a beneficiary.” Such request is overly broad, unduly

burdensome and not reasonably calculated to lead to the discovery of relevant information or

information likely to lead to the discovery of relevant information, as there is no correlation

between the documents sought in the request and the case at hand, nor any indication or evidence

that the Debtor has any connection to such trusts. Furthermore, Gandhi is not a trustee or



                                                 6
Case 23-02011-CMB         Doc 47    Filed 08/03/23 Entered 08/03/23 15:26:36              Desc Main
                                   Document     Page 7 of 10



beneficiary to any other trusts, that he is aware of, and consequently has no documents in his

possession responsive to the request.

       18.     Request No. 16 seeks “All Communications between You and Akshita or

Sumanta Banerjee concerning monetary support.” Such request is overly broad, as it lacks any

time frame, and imposes an undue burden on Gandhi, a non-party, as such information can be

properly requested from the Debtor.

       19.     Request No. 18 seeks “All Documents and Communications concerning any

action filed by Sadis & Goldberg, LLP.” This request seeks information that would be protected

by attorney-client privilege, and is further overbroad and unduly burdensome.

       20.     Request No. 19 seeks “All Documents and Communications concerning any

Separation Agreement between Akshita and Sumanta Banerjee.” Similarly, Request No. 21

seeks “All government filings or Agreements signed by Akshita Banerjee or Sumanta Banerjee

on behalf of any of the Evergreen Entities.” Such requests are properly directed to the Debtor,

Sumanta Banerjee or the Evergreen Entities, and to the extent such documents might otherwise

be in Gandhi’s possession, which he denies, the requests are unduly burdensome on Gandhi, as a

non-party.

       21.     Finally, Request No. 28 seeks “All monthly statements for any investment

accounts or bank accounts of any other trust for which you, your wife, Akshita Banerjee, or

Sumanta Banerjee are the trustee.” As stated previously, the request is overly broad, unduly

burdensome and not reasonably calculated to lead to the discovery of relevant information or

information likely to lead to the discovery of relevant information, as there is no correlation (at

least as it pertains to additional trusts of Gandhi and his wife) between the documents sought in

the request and the case at hand, nor any indication or evidence that the Debtor has any



                                                  7
Case 23-02011-CMB        Doc 47    Filed 08/03/23 Entered 08/03/23 15:26:36            Desc Main
                                  Document     Page 8 of 10



connection to such trusts. Furthermore, the request as it pertains to the Debtor or Sumanta

Banerjee is properly directed to them, individually.

       WHEREFORE, Anant J. Gandhi respectfully requests that this Court deny Plaintiff’s

Motion to Compel.


                                                       Respectfully submitted,


                                                       LEECH TISHMAN FUSCALDO & LAMPL, LLC

Dated: August 3, 2023                                  By: /s/ Daniel P. Yeomans______________
                                                       Richard J. Cromer (Pa. I.D. No. 79214)
                                                       Daniel P. Yeomans (Pa. I.D. No. 323449)
                                                       525 William Penn Place, 28th Floor
                                                       Pittsburgh, PA 15219
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                                                       Attorneys for Non-party, Anant J. Gandhi




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Case 23-02011-CMB             Doc 47     Filed 08/03/23 Entered 08/03/23 15:26:36           Desc Main
                                        Document     Page 9 of 10



                      IN THE UNITED STATES BANKRUPTCY COURT
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In re:                                                )
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         Debtor in Possession,                        )
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Sadis & Goldberg, LLP                                 )
                                                      )       Adversary No. 23-02011-CMB
         Plaintiff,                                   )
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v.                                                    )       Related to Document Nos: 34 & 38
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Akshita Banerjee,                                     )
                                                      )
         Defendant.                                   )
---------------------------------------------------- )
Sadis & Goldberg, LLP,                                )
                                                      )
         Movant,                                      )
                                                      )
v.                                                    )
                                                      )
Anant J. Gandhi,                                      )
                                                      )
         Respondent.                                  )



         CERTIFICATE OF SERVICE OF RESPONSE TO MOTION TO COMPEL


         I, Daniel P. Yeomans, do hereby certify under penalty of perjury that a true and correct

copy of the foregoing Non-Party Anant J. Gandhi’s Response To Plaintiff’s Motion To Compel

was served on August 3, 2023, by electronic mail and CM/ECF as follows:


                                              Ben Hutman, Esq.
                                            Sadis & Goldberg, LLP
                                              551 Fifth Avenue
                                                Ste 21st Floor
                                             New York, NY 10176
                                             bhutman@sadis.com
                                                          9
Case 23-02011-CMB       Doc 47     Filed 08/03/23 Entered 08/03/23 15:26:36     Desc Main
                                 Document      Page 10 of 10




                                            and

                                  Gary M. Sanderson, Esq.
                                 Meyer, Unkovic & Scott LLP
                                    535 Smithfield Street
                                          Suite 1300
                                    Pittsburgh, PA 15222
                                     gms@muslaw.com
                                    Counsel for Plaintiff


                                        Respectfully submitted,


                                         LEECH TISHMAN FUSCALDO & LAMPL, LLC

Dated: August 3, 2023                             By: /s/ Daniel P. Yeomans_____________
                                                  Daniel P. Yeomans
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